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                      UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS


IN RE: PHARMACEUTICAL INDUSTRY
AVERAGE WHOLESALE PRICE                             MDL No. 1456
LITIGATION                                          Master File No.: 01-CV-12257-PBS
                                                    Subcategory Case No. 07-12141-PBS

 THIS DOCUMENT RELATES TO:                          Judge Patti B. Saris

 State of Iowa v. Abbott Laboratories, et al.




              [PROPOSED] CASE MANAGEMENT ORDER NO. ___


       The following dates are modified from the case management order entered by this

Court on January 22, 2009:


                              ACTION                                    DEADLINE
         All fact discovery                              July 1, 2010
         completed.

         Plaintiff shall serve expert reports and       September 15, 2010
         other materials in compliance with Fed.
         R. Civ. P. 26(a)(2)(B).
         Defendants shall serve expert reports          November 15, 2010
         and other materials in compliance with
         Fed. R. Civ. P. 26(a)(2)(B).
         All expert depositions shall be                December 15, 2010
         completed.



       The parties shall use their best efforts to serve any remaining written discovery by

April 30, 2010. No written discovery may be served after April 30, 2010 unless it is

justified by particular circumstances demonstrating that despite the serving party’s best
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efforts, such discovery could not reasonably have been served prior to that date. All

other provisions of the January 22, 2009 CMO remain unchanged.


SO ORDERED

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                                                    PATTI B. SARIS
                                                    U.S. DISTRICT COURT JUDGE
